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 7
 8
                                UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10
11                                              Case No.:
     NICHOLAS HOPEWELL,
12                Plaintiff,                    COMPLAINT FOR INJUNCTIVE
                                                RELIEF AND DAMAGES FOR
13         vs.                                  VIOLATION OF:
14                                              1. AMERICANS WITH DISABILITIES
     SBL CORPORATION D/B/A BEA’S                ACT, 42 U.S.C. §12131 et seq.;
15
     BAKERY; and DOES 1 through 10,             2. CALIFORNIA’S UNRUH CIVIL
16                                              RIGHTS ACT, CAL CIV. CODE §§ 51 -
                  Defendants.                   52 et seq.;
17
                                                3. CALIFORNIA’S DISABLED
18                                              PERSONS ACT, CAL CIV. CODE §54 et
                                                seq.
19
                                                4. CALIFORNIA’S UNFAIR
20                                              COMPETITION ACT, CAL BUS & PROF
                                                CODE § 17200, et seq.
21
                                                5. NEGLIGENCE
22
23
24
25         Plaintiff NICHOLAS HOPEWELL (“Plaintiff”) complains of Defendants SBL
26   CORPORATION D/B/A BEA’S BAKERY; and DOES 1 through 10 (“Defendants”) and
27   alleges as follows:
28




                                   COMPLAINT FOR DAMAGES - 1
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 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, in Tarzana, Los
10   Angeles County, California, and that Plaintiff’s causes of action arose in this district.
11                                            PARTIES
12         4.     Plaintiff is a California resident with a physical disability who requires the
13   use of a wheelchair at all times when traveling in public.
14         5.     Defendants are, or were at the time of the incident, the real property owners,
15   business operators, lessors and/or lessees of the real property for BEA’S BAKERY
16   (“Business”) located at or about 18450 Clark St., Tarzana, California.
17         6.     The true names and capacities, whether individual, corporate, associate or
18   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
19   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
20   Court to amend this Complaint when the true names and capacities have been
21   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
22   fictitiously named Defendants are responsible in some manner, and therefore, liable to
23   Plaintiff for the acts herein alleged.
24         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
25   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
26   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
27   the things alleged herein was acting with the knowledge and consent of the other
28   Defendants and within the course and scope of such agency or employment relationship.



                                    COMPLAINT FOR DAMAGES - 2
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 1         8.     Whenever and wherever reference is made in this Complaint to any act or
 2   failure to act by a defendant or Defendants, such allegations and references shall also be
 3   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 4   and severally.
 5                                 FACTUAL ALLEGATIONS
 6         9.     On or about May 13, 2018, Plaintiff went to the Business. On or about
 7   July 5, 2018, Plaintiff went to the Business again. The Business is a bakery business
 8   establishment, which is open to the public, is a place of public accommodation and
 9   affects commerce through its operation.
10         10.    While attempting to enter the Business during each visit, Plaintiff personally
11   encountered a number of barriers that interfered with his ability to use and enjoy the
12   goods, services, privileges, and accommodations offered at the Business. To the extent
13   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
14   limited to, the following:
15                a.     Defendants failed to comply with the federal and state standards for
16                       the parking space designated for persons with disabilities. Defendants
17                       failed to post required signage such as “Van Access,” “Minimum Fine
18                       $250” or “Unauthorized Parking.”
19                b.     Defendant failed to maintain the parking space designated for persons
20                       with disabilities to comply with the federal and state standards.
21                       Defendants failed to provide the access aisles with level surface
22                       slopes.
23         11.    These barriers and conditions denied Plaintiff the full and equal access to the
24   Business. Plaintiff lives about 1 mile away from the Business. Plaintiff wishes to
25   patronize the Business again as it is conveniently located for Plaintiff. However, Plaintiff
26   is deterred from visiting the Business because his knowledge of these violations prevents
27   him from returning until the barriers are removed.
28




                                   COMPLAINT FOR DAMAGES - 3
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 1         12.    Based on the violations, Plaintiff alleges, on information and belief, that
 2   there are additional barriers to accessibility at the Business after further site inspection.
 3   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 4   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 5         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
 6   knew that particular barriers render the Business inaccessible, violate state and federal
 7   law, and interfere with access for the physically disabled.
 8         14.    At all relevant times, Defendants had and still have control and dominion
 9   over the conditions at this location and had and still have the financial resources to
10   remove these barriers without much difficulty or expenses to make the Business
11   accessible to the physically disabled in compliance with ADDAG and Title 24
12   regulations. Defendants have not removed such barriers and have not modified the
13   Business to conform to accessibility regulations.
14                                   FIRST CAUSE OF ACTION
15       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
16         15.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
19   shall be discriminated against on the basis of disability in the full and equal enjoyment of
20   the goods, services, facilities, privileges, advantages, or accommodations of any place of
21   public accommodation by any person who owns, leases, or leases to, or operates a place
22   of public accommodation. See 42 U.S.C. § 12182(a).
23         17.    Discrimination, inter alia, includes:
24                a.     A failure to make reasonable modification in policies, practices, or
25                       procedures, when such modifications are necessary to afford such
26                       goods, services, facilities, privileges, advantages, or accommodations
27                       to individuals with disabilities, unless the entity can demonstrate that
28                       making such modifications would fundamentally alter the nature of



                                     COMPLAINT FOR DAMAGES - 4
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 1                    such goods, services, facilities, privileges, advantages, or
 2                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3              b.    A failure to take such steps as may be necessary to ensure that no
 4                    individual with a disability is excluded, denied services, segregated or
 5                    otherwise treated differently than other individuals because of the
 6                    absence of auxiliary aids and services, unless the entity can
 7                    demonstrate that taking such steps would fundamentally alter the
 8                    nature of the good, service, facility, privilege, advantage, or
 9                    accommodation being offered or would result in an undue burden. 42
10                    U.S.C. § 12182(b)(2)(A)(iii).
11              c.    A failure to remove architectural barriers, and communication barriers
12                    that are structural in nature, in existing facilities, and transportation
13                    barriers in existing vehicles and rail passenger cars used by an
14                    establishment for transporting individuals (not including barriers that
15                    can only be removed through the retrofitting of vehicles or rail
16                    passenger cars by the installation of a hydraulic or other lift), where
17                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
18              d.    A failure to make alterations in such a manner that, to the maximum
19                    extent feasible, the altered portions of the facility are readily
20                    accessible to and usable by individuals with disabilities, including
21                    individuals who use wheelchairs or to ensure that, to the maximum
22                    extent feasible, the path of travel to the altered area and the
23                    bathrooms, telephones, and drinking fountains serving the altered
24                    area, are readily accessible to and usable by individuals with
25                    disabilities where such alterations to the path or travel or the
26                    bathrooms, telephones, and drinking fountains serving the altered
27                    area are not disproportionate to the overall alterations in terms of cost
28                    and scope. 42 U.S.C. § 12183(a)(2).



                                COMPLAINT FOR DAMAGES - 5
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 1          18.   Where parking spaces are provided, accessible parking spaces shall be
 2   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 3   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 4   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 5   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 6   be van parking space. 2010 ADA Standards § 208.2.4.
 7         19.    Under the ADA, the method and color of marking are to be addressed by
 8   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 9   Building Code (“CBC”), the parking space identification signs shall include the
10   International Symbol of Accessibility. Parking identification signs shall be reflectorized
11   with a minimum area of 70 square inches. Additional language or an additional sign
12   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
13   parking space identification sign shall be permanently posted immediately adjacent and
14   visible from each parking space, shall be located with its centerline a maximum of 12
15   inches from the centerline of the parking space and may be posted on a wall at the
16   interior end of the parking space. See CBC § 11B-502.6, et seq.
17         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
18   each entrance to an off-street parking facility or immediately adjacent to on-site
19   accessible parking and visible from each parking space. The additional sign shall not be
20   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
21   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
22   designated accessible spaces not displaying distinguishing placards or special license
23   plates issued for persons with disabilities will be towed always at the owner’s expense…”
24   See CBC § 11B-502.8, et seq.
25         21.    Here, Defendants failed to provide signs stating “Minimum fine $250” or
26   “Van Accessible”. Moreover, Defendants failed to provide the additional sign with the
27   specific languages stating “Unauthorized vehicles parked in designated accessible spaces
28




                                   COMPLAINT FOR DAMAGES - 6
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 1   not displaying distinguishing placards or special license plates issued for persons with
 2   disabilities will be towed always at the owner’s expense…”
 3         22.    Under the 1991 Standards, parking spaces and access aisles must be level
 4   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 5   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 6   shall be part of an accessible route to the building or facility entrance and shall comply
 7   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 8   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 9   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
10   directions. 1991 Standards § 4.6.3.
11         23.    Here, the access aisles are not level with the parking spaces. Under the 2010
12   Standards, access aisles shall be at the same level as the parking spaces they serve.
13   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
14   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
15   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. 2010
16   Standards § 502.4. Here, the failure to provide level parking is a violation of the law.
17         24.    A public accommodation shall maintain in operable working condition those
18   features of facilities and equipment that are required to be readily accessible to and usable
19   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
20   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
21   violation of Plaintiff’s rights under the ADA and its related regulations.
22         25.    The Business has denied and continues to deny full and equal access to
23   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
24   discriminated against due to the lack of accessible facilities, and therefore, seeks
25   injunctive relief to alter facilities to make such facilities readily accessible to and usable
26   by individuals with disabilities.
27
28




                                    COMPLAINT FOR DAMAGES - 7
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 1                                 SECOND CAUSE OF ACTION
 2                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 3         26.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         27.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 6   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 7   national origin, disability, medical condition, genetic information, marital status, sexual
 8   orientation, citizenship, primary language, or immigration status are entitled to the full
 9   and equal accommodations, advantages, facilities, privileges, or services in all business
10   establishments of every kind whatsoever.”
11         28.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
12   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
13   for each and every offense for the actual damages, and any amount that may be
14   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
15   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
16   attorney’s fees that may be determined by the court in addition thereto, suffered by any
17   person denied the rights provided in Section 51, 51.5, or 51.6.
18         29.    California Civil Code § 51(f) specifies, “a violation of the right of any
19   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
20   shall also constitute a violation of this section.”
21         30.    The actions and omissions of Defendants alleged herein constitute a denial
22   of full and equal accommodation, advantages, facilities, privileges, or services by
23   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
24   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
25   51 and 52.
26         31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
27   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
28   damages as specified in California Civil Code §55.56(a)-(c).



                                     COMPLAINT FOR DAMAGES - 8
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 1                                 THIRD CAUSE OF ACTION
 2               VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 3         32.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 6   entitled to full and equal access, as other members of the general public, to
 7   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 8   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 9   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
10   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
11   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
12   places of public accommodations, amusement, or resort, and other places in which the
13   general public is invited, subject only to the conditions and limitations established by
14   law, or state or federal regulation, and applicable alike to all persons.
15         34.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
16   corporation who denies or interferes with admittance to or enjoyment of public facilities
17   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
18   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
19   the actual damages, and any amount as may be determined by a jury, or a court sitting
20   without a jury, up to a maximum of three times the amount of actual damages but in no
21   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
22   determined by the court in addition thereto, suffered by any person denied the rights
23   provided in Section 54, 54.1, and 54.2.
24         35.    California Civil Code § 54(d) specifies, “a violation of the right of an
25   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
26   constitute a violation of this section, and nothing in this section shall be construed to limit
27   the access of any person in violation of that act.
28




                                     COMPLAINT FOR DAMAGES - 9
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 1          36.   The actions and omissions of Defendants alleged herein constitute a denial
 2   of full and equal accommodation, advantages, and facilities by physically disabled
 3   persons within the meaning of California Civil Code § 54. Defendants have
 4   discriminated against Plaintiff in violation of California Civil Code § 54.
 5          37.   The violations of the California Disabled Persons Act caused Plaintiff to
 6   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 7   statutory damages as specified in California Civil Code §55.56(a)-(c).
 8                                FOURTH CAUSE OF ACTION
 9                                UNFAIR COMPETITION ACT
10          38.   Plaintiff incorporates by reference each of the allegations in all prior
11   paragraphs in this complaint.
12          39.   Defendants have engaged in unfair competition, unfair or fraudulent
13   business practices, and unfair, deceptive, untrue or misleading advertising in violation of
14   the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
15          40.   Defendants engage in business practices and policies that create systemic
16   barriers to full and equal access for people with disability in violation of state and federal
17   law.
18          41.   The actions and omissions of Defendants are unfair and injurious to
19   Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
20   unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
21   provided with goods and services provided to other consumers. Plaintiff seeks relief
22   necessary to prevent Defendants’ continued unfair business practices and policies and
23   restitution of any month that Defendants acquired by means of such unfair competition,
24   including profits unfairly obtained.
25                                   FIFTH CAUSE OF ACTION
26                                          NEGLIGENCE
27          42.   Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                   COMPLAINT FOR DAMAGES - 10
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 1          43.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3   to the Plaintiff.
 4          44.    Defendants breached their duty of care by violating the provisions of ADA,
 5   Unruh Civil Rights Act and California Disabled Persons Act.
 6          45.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7   has suffered damages.
 8                                    PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10   Defendants as follows:
11          1.     For preliminary and permanent injunction directing Defendants to comply
12   with the Americans with Disability Act and the Unruh Civil Rights Act;
13          2.     Award of all appropriate damages, including but not limited to statutory
14   damages, general damages and treble damages in amounts, according to proof;
15          3.     Award of all reasonable restitution for Defendants’ unfair competition
16   practices;
17          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18   action;
19          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
20          6.     Such other and further relief as the Court deems just and proper.
21                               DEMAND FOR TRIAL BY JURY
22          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
23   demands a trial by jury on all issues so triable.
24   Dated: August 16, 2018                  SO. CAL. EQUAL ACCESS GROUP
25
26                                           By:   _/s/ Jason Yoon _______________
                                                   Jason Yoon, Esq.
27                                           Attorneys for Plaintiff
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                                   COMPLAINT FOR DAMAGES - 11
